
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-02-421-CV

NO. 2-02-422-CV



IN THE MATTER OF L.B. 	APPELLANT





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FROM COUNTY COURT AT LAW NO. 1 OF DENTON COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On February 11, 2003 and March 5, 2003, we notified appellant that the trial court clerk and the court reporter responsible for preparing the records in this appeal informed the court that payment arrangements had not been made to pay for the records as required by T
EX.
 R. A
PP.
 P. 35.3(a)(2), 35.3(b)(3). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant, within fifteen days, made arrangements to pay for the records and provided this court with proof of payment. &nbsp;

Because appellant has not made payment arrangements for the records, it is the opinion of the court that the appeal should be dismissed for want of prosecution. 
 &nbsp;Accordingly, we dismiss the appeal. &nbsp;
See T
EX
. R. A
PP
. P. 37.3(b), 42.3(b).

Appellant shall pay all costs of the 
appeal, for which let execution issue.



PER CURIAM 			





PANEL D:	DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: May 1, 2003



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




